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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE


ROBERT L. SHULER and
PAULINE SHULER LEWIS,
natural children and heirs at law of
decedent PAULINE SLOAN SHULER, and
THE ESTATE OF PAULINE SHULER,

       Plaintiffs,

vs.                                                          No. 2:12-CV-02498

BAPTIST MEMORIAL HEALTH
CARE CORPORATION, d/b/a
Baptist Memorial Hospital-Memphis,

       Defendant.


                      STIPULATION OF VOLUNTARY DISMISSAL


       COME NOW the parties in the above styled action, by and through their undersigned

attorneys of record, and pursuant to Fed. R. Civ. P. 41(a), give notice of their stipulation to

dismiss the Plaintiffs’ claims against the Defendants without prejudice.


Respectfully submitted:

/s/ Rachael E. Putnam_______                        /s/ Tabitha F. McNabb_________
Rachael E. Putnam, # 21654                          William W. Dunlap # 7743
Austin T. Rainey # 31421                            Tabitha F. McNabb # 11489
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